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  The relief described hereinbelow is SO ORDERED.



  Signed June 13, 2023.

                                                    __________________________________
                                                           H. CHRISTOPHER MOTT
                                                    UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________

                IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             EL PASO DIVISION
  IN RE:                            §
  J.A.R. CONCRETE, INC              § CASE NO. 23-30242-hcm
               Debtor.              § (Chapter 11)

                     ORDER DENYING FIRST AMENDED MOTION
                  FOR AUTHORIZATION TO USE CASH COLLATERAL

         On June 13, 2023, the Court conducted a hearing on the First Amended Motion
  for Interim Authorization to Use Cash Collateral (“Motion”) (dkt# 169) filed by J.A.R.
  Concrete, Inc. (“Debtor”). An objection to the Motion (“Objection”) (dkt# 177) was filed by
  Crum & Forster and United States Fire Insurance Company (collectively, “Surety”). A
  limited response to the Motion (“Response”) (dkt# 178) was filed by Camino Real
  Regional Mobility Authority (“CRRMA”).

          Appearing at the hearing were representatives of the Debtor; counsel for the
  Debtor; counsel for the Surety; counsel for CRRMA; counsel for the U. S. Trustee; and
  counsel for other interested parties. The Court has considered the Motion, Objection,
  Response, evidence, pleadings, and arguments of counsel. For the reasons stated by the
  Court on the record at the hearing, the Court finds that the Motion should be denied and
  the following Order should be entered.

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

         1.      The Motion for Interim Authorization to Use Cash Collateral (“Motion”)
  (dkt# 169) filed by the Debtor is hereby denied.


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         2.      The Debtor shall provide proof that it currently maintains general liability and
  property insurance to counsel for the U.S. Trustee within 24 hours of the entry of this
  Order, if the Debtor maintains such insurance.

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